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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES                                   *


vs.                                             *   Case No.: 22-15 APM


THOMAS E. CALDWELL                              *


       *      *       *      *      *       *       *     *       *       *       *
      CALDWELL’S NOTICE REGARDING WAIVER OF APPEARANCE FOR THE
                  COURT’S RULING ON RULE 29 MOTION
.

       COMES NOW the Defendant, Thomas E. Caldwell, by and through his attorney,

David W. Fischer, Esq., and hereby notifies the Court that, after consultation with the

undersigned, and after being fully advised of his right to personally appear at all proceedings

of this Court, that the Defendant hereby waives his right to appear in-person for a hearing

regarding the Court’s ruling on his motion filed pursuant to Rule 29. The Defendant further

understands that his remote, virtual appearance is required at the Rule 29 hearing to be held

on a date to be set by the Court. The Defendant further consents to undersigned counsel

appearing remotely for the aforementioned hearing.

                                                    Respectfully submitted,



                                                          /s/_____________________
                                                    David W. Fischer, Esq.
                                                    Federal Bar No. 023787
                                                    Law Offices of Fischer & Putzi, P.A.
                                                    Empire Towers, Suite #300
                                                    7310 Ritchie Highway
                                                    Glen Burnie, MD 21061

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                                                  (410) 787-0826
                                                  Attorney for Defendant




                              CERTFICATE OF SERVICE


       I HEREBY CERTIFY that on this 9th day of September, 2023, a copy of the
foregoing Notice Regarding Waiver of Appearance was electronically filed with the Clerk of
the United States District Court using CM/ECF, with a notice of said filing to the following:



Counsel for the Government:                Office of the United States Attorney
                                           Kathryn Rakoczy, AUSA
                                           Jeffrey Nestler, AUSA
                                           Louis Manzo, AUSA
                                           Troy Edwards, AUSA
                                           Alexandra Hughes, DOJ T.A. (NSD)
                                           Justin Sher, DOJ T.A. (NSD)
                                           555 4th Street, NW
                                           Washington, DC 20001


                                                       /s/_____________________
                                                  David W. Fischer, Esq.




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